






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00361-CV







In re Marvel Reed







ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY




M E M O R A N D U M   O P I N I O N



		This case involves a Texas court's power to order the production of documents from
a nonparty witness for use in a Minnesota divorce proceeding.  We hold that the trial court did not
have the power to order a nonparty witness to produce documents other than as specified by the
Texas Civil Practices and Remedies Code and the Texas Rules of Civil Procedure.  Accordingly, we
conditionally grant the writ of mandamus and instruct the trial court to vacate its discovery order.


BACKGROUND


		Relator is a nonparty witness, who is the sister of Raymond E. Graf, the husband and
respondent in the suit for divorce pending in Minnesota.  Real party in interest is Tammy J. Graf, the
wife and petitioner in the Minnesota divorce suit.  Relator seeks mandamus relief from the trial
court's discovery order compelling production of documents in Texas for use in a Minnesota divorce
proceeding on the ground that the trial court's order violates section 20.002 of the Texas Civil
Practices and Remedies Code and the Texas Rules of Civil Procedure.  See Tex. Civ. Prac. &amp; Rem.
Code Ann. §&nbsp;20.002 (West 2008); Tex. R. Civ. P. 201.2.  Specifically, relator contends that the trial
court's order violates the statute and rule because no "mandate, writ, or commission" has been issued
by the Minnesota court in which the real party in interest's divorce is pending.

		On February 10, 2009, a Minnesota district court entered a pretrial order addressing
various underlying issues, including various discovery disputes, in Graf v. Graf, No. 01-FA-07-1324,
Order (Minn. Dist. Ct. Feb. 10, 2009). (1)  In relevant part, the Minnesota order states:


	6.	A writ shall be issued to the State of Texas for Marvel Reed to produce
within 15 days from the date of this Order or as ordered by the Texas District
Court all records since 2001 . . . . 


	7.	A writ shall be issued to the State of Texas for Marvel Reed to submit for
oral deposition as outlined in the Rules of Court for the State of Texas within
30 days of the receipt of the production of documents or as ordered by the
Texas District Court.


See id., No. 01-FA-07-1324, Order, at 3-4 (Minn. Dist. Ct. Feb. 10, 2009).

		Real party in interest filed the Minnesota order with the Williamson County District
Court on April 6, 2009, and, on April 21, 2009, the district clerk sent notice of registration of foreign
support order to Raymond E. Graf as a nonregistering party.  The record before us reflects some
confusion on the part of the district clerk as to how to handle the Minnesota order and, in a series
of emails between the district clerk and counsel for real party in interest, counsel requested the
district clerk to file the Minnesota order as a foreign order, not a foreign judgment, and to correct the
notice previously sent on April 21, 2009.  On May 20, 2009, the district clerk sent notice of filing
of foreign order in cause number 09-1044-F425 to Raymond Graf.

		Real party in interest issued a subpoena duces tecum on April 27, 2009, and
relator&nbsp;filed a plea to the jurisdiction, motion to quash and for protective order.  After a hearing on
May&nbsp;26,&nbsp;2009, the trial court entered the discovery order that is the subject of this original
proceeding. (2)  In its order, the trial court "clarified" the Minnesota order and ordered relator to
produce the documents&nbsp;sought by real party in interest on or before 5:00 p.m. June 30, 2009.  The
trial court thereafter&nbsp;extended the time for production until 5:00 p.m. on July 10, 2009, and relator
sought mandamus&nbsp;relief. (3)


DISCUSSION


		Relator raises three complaints about the trial court's discovery order.  Relator
contends that the trial court abused its discretion in granting discovery when the Minnesota court did
not issue a "mandate, writ, or commission" in compliance with Texas law and the Texas Rules of
Civil Procedure.  Relator also contends that the trial court abused its discretion by altering the
Minnesota order under the guise of "clarifying" that order and by ordering the production of
voluminous bank records without a prior in camera inspection.

		We observe that an order for discovery that is contrary to Texas law or the
Texas&nbsp;Rules of Civil Procedure is reviewable by mandamus.  See, e.g., In re Amer. Optical,
988&nbsp;S.W.2d&nbsp;711, 713 (Tex. 1998) (orig. proceeding) ("An order compelling discovery that is
well&nbsp;outside the proper bounds is reviewable by mandamus."); Wal-Mart Stores, Inc. v. Street,
754&nbsp;S.W.2d 153, 155 (Tex. 1988) (orig. proceeding) (granting mandamus to overrule location
of&nbsp;deposition of Sam Walton).  To obtain mandamus relief, relator must show that the trial court
clearly&nbsp;abused its discretion and that there is no adequate remedy.  See In re McAllen Med. Ctr.,
275&nbsp;S.W.3d&nbsp;458, 462, 464-69 (Tex. 2008); In re Prudential Ins. Co. of Am., 148 S.W.3d 124, 135-36
(Tex. 2004); Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992).  When, as here, mandamus
proceedings arise out of the trial court's interpretation of statutes or legal rules, our review is to be
conducted with limited deference to the trial court.  Walker, 827 S.W.2d at 840.  Because "[a] trial
court has no 'discretion' in determining what the law is or applying the law to the facts," erroneous
analysis or application of the law "will constitute an abuse of discretion, and may result in appellate
reversal by extraordinary writ."  Id.

		To facilitate discovery in Texas for use in a foreign jurisdiction--i.e., in another state
or country--Texas law provides what is known as a "helping" statute.  See Tex. Civ. Prac. &amp; Rem.
Code Ann. §&nbsp;20.002 ("Testimony Required by Foreign Jurisdiction").  Section 20.002 states:


	If a court of record in any other state or foreign jurisdiction issues a mandate, writ,
or commission that requires a witness's testimony in this state, either to written
questions or by oral deposition, the witness may be compelled to appear and testify
in the same manner and by the same process used for taking testimony in a
proceeding pending in this state.


Id.  In addition, Rule 201.2 of the Texas Rules of Civil Procedure provides:


	If a court of record of any other state or foreign jurisdiction issues a mandate, writ,
or commission that requires a witness's oral or written deposition testimony in this
State, the witness may be compelled to appear and testify in the same manner and by
the same process used for taking testimony in a proceeding pending in this State.


Tex. R. Civ. P. 201.2. 

		Relator argues that real party in interest has failed to comply with the statute and rule
because the Minnesota court has not issued a "mandate, writ, or commission" within the meaning
of the statute or rule.  Real party in interest responds that the terms "mandate," "writ," and
"commission" are used interchangeably in the statute and rule and that the Minnesota order is a
mandate within the meaning of the statute and rule.  Real party in interest further responds that
whether the Minnesota court order is a "mandate, writ, or commission" within the meaning of the
statute and rule is a question of fact to be decided by the trial court.

		To decide whether to grant the discovery sought by real party in interest, the trial
court was required to interpret section 20.002 of the civil practices and remedies code and rule 201.2
of the rules of civil procedure.  Our review of the trial court's interpretation thus presents a question
of statutory construction, which is a question of law, not fact.  See, e.g., State v. Shumake,
199&nbsp;S.W.3d 279, 284 (Tex. 2006); see also Walker, 827 S.W.2d at 840.  By its use of the terms
"mandate, writ, or commission," the legislature has signaled a specific meaning and intent of the
statute and rule, and it is our job to discern this intent from the words chosen by the legislature. 
See&nbsp;Shumake, 199 S.W.3d at 284; City of San Antonio v. City of Boerne, 111 S.W.3d 22, 25
(Tex.&nbsp;2003).

		The Texas statute and rule expressly authorize relator to seek discovery from a Texas
resident for use in a foreign jurisdiction only if the court of record in that jurisdiction has issued a
"mandate, writ, or commission."  Real party in interest argues--and the trial court agreed--that the
Minnesota order was a "mandate, writ, or commission" within the meaning of the statute and rule. 
But these terms are legal terms of art with specific meanings in the discovery context, (4) and the
Minnesota court recognized as much in its February 10th order.  By its plain terms, that order states,
"A writ shall be issued to the State of Texas . . . ."  But nothing in the record before us demonstrates
that the Minnesota court ever issued a writ to the State of Texas as contemplated in its order. 
Because the Minnesota order is phrased in the future tense--"a writ shall be issued"--we cannot
construe that order to be the "mandate, writ, or commission" contemplated under section 20.002 or
Rule 201.2.  See, e.g., In re Prince, No. 14-06-00895-CV, 2006 Tex. App. LEXIS 10558, at *2
(Tex.&nbsp;App.--Houston [14th Dist.] 2006) (orig. proceeding) (California court issued commission for
Harris County trial court to issue subpoena for production of documents and for Prince's oral
deposition); Warford v. Childers, 642 S.W.2d 63, 65 (Tex. App.--Amarillo 1982) (Hawaiian trial
court issued commission to take deposition of Childers, a Lubbock, Texas, police officer in
Lubbock).  Stated differently, the plain language of the Minnesota order contemplates further action
on the part of the Minnesota court.  As a result, we cannot construe that order to be the "mandate,
writ, or commission" as contemplated in the statute and rule.

		Although a court has the power and duty to control the discovery process, it may only
do so within the confines of the rules of civil procedure.  See In re Guzman, 19 S.W.3d 522, 525
(Tex. App.--Corpus Christi 2000, orig. proceeding).  Because real party in interest seeks discovery
from relator, who is a nonparty to the underlying divorce proceeding, we cannot excuse real party
in interest's failure to comply with the express requirements of the statute and rule.  See In re Prince,
2006 Tex. App. LEXIS 10558, at *9-11 (identifying and explaining different standards under Texas
rules for compelling discovery from parties versus nonparties).  In the absence of a "mandate, writ,
or commission" within the meaning of section 20.002 and rule 201.2, the trial court abused its
discretion in ordering relator's production of documents. (5)  See Walker, 827 S.W.3d at 840 (trial
court's failure to correctly analyze and apply the law constitutes an abuse of discretion).  We,
therefore, conditionally grant relator's petition for writ of mandamus and instruct the trial court to
vacate its discovery order.  The writ will issue only if the trial court does not comply with
this&nbsp;opinion.


						__________________________________________

						Jan P. Patterson, Justice


Before Chief Justice Jones, Justices Patterson and Henson

    Dissenting Opinion by Justice Henson 

Filed: July 10, 2009



1.   In addition to addressing the issue of discovery from relator, the Minnesota pretrial order
addressed discovery issues regarding A.G. Edwards and Larry Dunnahoe, a Texas CPA.  The
Minnesota order also rescheduled the pretrial hearing and trial dates.
2.   The trial court's order was signed on June 11, 2009, and filed the next day.
3.   Relator also sought an emergency stay, which this Court granted on July 8, 2009.
4.   See 25B Am. Jur. Pleading &amp; Practice Forms §§&nbsp;36 (motion for order granting commission
to depose witness in foreign state or country), 48 (commission to take deposition in foreign state or
country) (Rev. ed. 2001).
5.   Because we conclude that the trial court abused its discretion in ordering discovery from
relator in the absence of a "writ, mandate, or commission" within the meaning of the statute and rule,
we do not reach relator's additional grounds for mandamus relief.

